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    16

    17                        UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
    18                             WESTERN DIVISION
    19                                      )
         JAIRO SEQUEIRA, Plaintiff                      CASE NO: 2:13-cv-04332-DMG-FFM
                                            )
    20                                      )
               Plaintiff,                   )           Judge: Hon. Judge Dolly M. Gee
    21                                      )
               v.                           )
    22                                      )           [SPECIAL APPEARANCE]
                                            )
    23   THE REPUBLIC OF NICARAGUA, )                   NOTICE OF MOTION AND
    24   CITY OF CHINANDEGA, and CITY ))                MOTION TO DISMISS THIRD
         OF EL VIEJO,                       )           AMENDED COMPLAINT WITH
    25                    Defendants.       )
                                            )           PREJUDICE
    26
         __________________________________ )
                                                        Date: April 13, 2018
    27
                                                        Time: 9:30 a.m.
    28                                                  Ctrm: 8C
    30
         _____________________________________________________________________________________________
    31             NOTICE OF MOTION AND MOTION TO DISMISS THIRD AMENDED COMPLAINT

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     1         PLEASE TAKE NOTICE that on April 13, 2018, at 9:30 a.m. or as soon
     2   thereafter as they may be heard before the Honorable Dolly M. Gee, in Courtroom
     3   8C of the United States District Court, Central District of California, located at
     4   350 West 1st Street, Los Angeles, CA, 90012, Defendants the Republic of
     5   Nicaragua, City of Chinandega, and City of El Viejo (collectively, “Defendants”)
     6   will move this Court for an order dismissing the Third Amended Complaint.
     7   Defendants will move for an order pursuant to, inter alia: Fed. R. Civ. P. 12(b)(1)
     8   for lack of jurisdiction over the subject matter; Fed. R. Civ. P. 12(b)(2) for lack of
     9   personal jurisdiction; Fed. R. Civ. P. 12(b)(3) for improper venue; and for such
    10   other and further relief as the Court deems appropriate.
    11         This Motion is made following the conference of counsel (with Plaintiff
    12   acting in pro per) pursuant to Local Rule 7-3, which took place on March 1, 2018.
    13         This Motion is based upon this Notice of Motion and Motion; the
    14   accompanying Memorandum of Points and Authorities in support; the declarations
    15   of María Xiomara Mena Rosales, Carlos Iván Martínez González, Aura Lyla
    16   Padilla Álvarez, Ivania Fidelia Ochoa Siria, Mivelda del Socorro Zavala Pérez,
    17   María del Tránsito Guevara Rodas, José Adrián Arias Ruiz, Olivia Margarita Cano
    18   Bustamante, Nicholas Renzler, Andrew Schwartz, in support; the expert reports of
    19   Ana Teresa Rizo Briceño and Dr. Karlos Navarro in support; all cited authorities,
    20   pleadings, and papers on file in this action; and such oral argument and other
    21   evidence and/or argument as the Court shall consider at the time of or otherwise in
    22   connection with any hearing on this Motion or otherwise.
    23   Dated: March 8, 2018             By:    /s/ Andrew Z. Schwartz
    24
                                                 Paul S. Reichler (adm. Pro Hac Vice)
    25                                           Andrew Z. Schwartz (adm. Pro Hac Vice)
                                                 Janis H. Brennan (adm. Pro Hac Vice)
    26                                           Nicholas M. Renzler (adm. Pro Hac Vice)
    27
                                                 FOLEY HOAG LLP

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                  NOTICE OF MOTION AND MOTION TO DISMISS THIRD AMENDED COMPLAINT
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     1                                      /s/ Jeffrey B. Valle

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                                            VALLE MAKOFF LLP
     3

     4                                      Attorneys for Defendants Republic of
                                            Nicaragua, the City of Chinandega, and the
     5                                      City of El Viejo
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                 NOTICE OF MOTION AND MOTION TO DISMISS THIRD AMENDED COMPLAINT
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